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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                 :      CASE NO. 09-61855-BEM
                                                        :
 TODD ANTHONY SHAW,                                     :      CHAPTER 7
                                                        :
            Debtor.                                     :

          FIRST INTERIM APPLICATION FOR ALLOWANCE OF
  COMPENSATION AND REIMBURSEMENT OF EXPENSES OF HAYS FINANCIAL
    CONSULTING, LLC, AS ACCOUNTANTS TO THE CHAPTER 7 TRUSTEE

          COMES NOW Hays Financial Consulting, LLC (“HFC” or “Applicant”), accountants to

 S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-styled case, and, pursuant to 11

 U.S.C. § 330 and Bankruptcy Rule 2016, and files this first interim application (“Application”)

 seeking allowance of compensation in the amount of $52,639.00 and reimbursement of expenses

 in the amount of $5,829.66 for the period from November 16, 2009 through and including

 September 30, 2019 (the “Application Period”). In support hereof, Applicant shows as follows:

                                                   1.

          On January 26, 2009 (the “Petition Date”), Todd Anthony Shaw (“Debtor”) filed a

 voluntarily petition under Chapter 7 of Title 11 of the United States Code (11 U.S.C. § 101, et seq.,

 as amended, is hereinafter referred to as the “Bankruptcy Code”), initiating Case No. 09-61855-

 BEM (the “Case”). Shortly thereafter, Trustee was appointed, and he remains, the duly acting

 Chapter 7 trustee in this Case.

                                                   2.

          On November 20, 2009, the Trustee filed an Application to Employ Hays Financial

 Consulting, LLC as Accountants for the Trustee [Doc. No. 60]. On November 23, 2009, an Order

 approving the employment of HFC as Accountants to the Trustee was entered [Doc. No. 61].
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                                                  3.

        Pursuant to this Application, Applicant seeks interim approval, allowance, and payment

 pursuant to §§ 330 and 331 of the Bankruptcy Code of compensation for services rendered as

 accountants for the Trustee incurred in connection therewith during the Application Period.

                                                  4.

        For the period covered by this application, HFC devoted a total of not less than 184.5 hours

 in rendering services as accountants to the Trustee. Applicant has not previously been allowed or

 paid any compensation for the period covered by this application. Summaries of hours spent by

 subject area and by professional are attached as Exhibit “A”.

                                                  5.

        The Trustee is currently holding $460,195.60 in the bankruptcy estate’s bank account. The

 funds resulted from a November 24, 2009 stipulation between the Trustee and Zomba Recordings

 LLC (“Zomba”) [Doc. No. 62] to split the continuing music royalties owed to the Debtor with

 20% being paid to the bankruptcy estate and 80% being paid to Zomba until Zomba's secured

 claim is satisfied. Due to the 2016 sampling of an estate composition (“Recently Sampled

 Composition”) and a considerable increase in royalties, the Zomba loan was satisfied in early 2019.

 The Trustee anticipates a gradual reduction in future royalty payments as the Recently Sampled

 Composition and past compositions age. The Trustee intends to locate a purchaser for the

 bankruptcy estate’s rights in the pre-petition compositions and future royalty payments.

                                                  6.

        Because of the additional time required to close the bankruptcy case, contemporaneously

 with the filing of this Application, Trustee has filed a Motion for Authority to Make Interim

 Distribution, which proposes a 100% distribution to allowed secured claimants, a 100%
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 distribution to allowed priority claimants and a 3% distribution to timely filed, allowed, general

 unsecured claimants. All claim issues have been resolved and appropriate reserves have been made

 for fees and expenses associated with the final administration of the bankruptcy case.

                                                     7.

          The services of the Applicant during the Application Period are summarized by category

 below.

                  (a)     Accounting. This category includes time spent reviewing and analyzing

          royalty payments and allocation of same between the bankruptcy estate and Zomba and

          monitoring same and the review and preparation of an analysis for the interim distribution

          to creditors.

                  (b)     Fee / Employment Applications & Objection. This category involves the

          preparation of this Application and the exhibits attached to it.

                  (c)     Tax Issues. This category includes activity by the Applicant including

          analysis of the estate income from music royalties for years 2009 through year 2018 and

          the preparation of federal and state tax returns of the bankruptcy estate for these years, (2)

          preparation of letters pursuant to code section 505(b), and (3) responding and addressing

          issues raised by the IRS.

                                                     8.

          Applicant shows that all services were necessary to assist the Trustee in the proper and

 effective administration of the Debtor’s estate and the exercise of the powers of the Trustee.

 Applicant shows that the fair and reasonable value of such services, and the costs of comparable

 services in a case not proceeding under the Bankruptcy Code, is not less than $52,639.00, based

 primarily on the normal hourly rates of providing such services and calculated using the “lodestar”
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 calculation of reasonable hourly rates multiplied by the number of hours actually expended, as

 summarized on Exhibit “A”. The time expended and services performed by HFC are duly itemized

 and set forth in Exhibit "B" attached hereto and by reference incorporated herein and made part of

 this Application.

                                                   9.

        Applicant shows that all services for which compensation during this Application Period

 is requested have been actually provided to the Debtor and/or the Trustee, and to no other parties,

 and have been necessary for the proper and effective administration of this case and for the benefit

 of the Debtor’s estate and its creditors.

                                                   10.

        Applicant’s employees have substantial experience and expertise in providing financial and

 accounting services in bankruptcy cases and to fiduciaries in such cases. Applicant’s employee

 hourly rates are fair and reasonable and the same as the cost for such services other than in a

 bankruptcy case.

                                                   11.

        The compensation requested is allowable pursuant to the twelve factor test (the “Johnson

 Factors”) set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir.

 1974), as modified and made applicable to bankruptcy cases by the Eleventh Circuit Court of

 Appeals in Grant v. George Schumann Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990). The

 Johnson Factors and their applicability in these cases are as follows:

                (a)     Time and Labor Required: HFC expended 184.5 hours in performing

        services as accountants to the Trustee during the Application Period. The billing rates of

        the various professionals and other personnel who have performed services for the
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      Committee are detailed in HFC’s billing statements, which are attached hereto as Exhibit

      “A”.

             (b)     Novelty and Difficulty of Questions Presented: The work performed by

      HFC has involved issues of varying complexity, as set forth in substantial detail in the

      billing statements attached to this Application.

             (c)     Skill Requisite to Perform Professional Services: The Trustee selected HFC

      as its accountants because HFC’s professionals possess substantial expertise and

      experience in bankruptcy and related fields and are well-qualified to perform professional

      services.

              (d)    Preclusion of Other Employment Due to Acceptance of the Cases:

      Professionals of HFC have devoted time and resources to these cases, to the possible

      preclusion of involvement in other matters.

             (e)     Customary Fees for the Type of Services Rendered: HFC believes that the

      fees requested and the hourly rates set forth herein are consistent fees typically charged for

      the type of services rendered in cases of this magnitude and complexity. The hourly rates

      charged by HFC in this Application are comparable to the rates that HFC would charge to

      a non-bankruptcy client for work of a similar nature and complexity.

             (f)     Whether the Fee is Fixed or Contingent: Pursuant to section 330(a) of the

      Bankruptcy Code, HFC’s fee is subject to Court approval, and is primarily based upon

      hourly rates and does not involve any fixed or flat fees. Compensation is “contingent” only

      in the sense that there are risks of non-allowance or non-payment.

             (g)    Time Limitations Imposed by the Client or Other Circumstances: Certain

      tax filing deadlines have been applicable herein.
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                (h)    The Amount Involved and Results Obtained: HFC shows that the Trustee,

        with the assistance of all professionals involved, has achieved a successful result in this

        case.

                (i)    The Experience, Reputation, and Ability of the Professional: HFC has

        extensive experience in bankruptcy matters. Its reputation and ability are well known to

        the Court.

                (j)    Undesirability of the Case:      This factor is inapplicable to the present

        Chapter 7 cases.

                (k)        Nature and Length of Professional Relationship with the Client: HFC

        was employed by the Trustee as his accountants in this bankruptcy case. Thus, the

        professional relationship is an ongoing one.

                (l)    Awards in Similar Cases: HFC is regularly awarded compensation in

        Chapter 7 and Chapter 11 cases on the same basis as requested herein.

                                                  12.

        In connection with the provision of services as set forth herein above, Applicant has

 incurred expenses in the amount of $5,829.66. The majority of the expenses being income taxes

 owed by the bankruptcy estate but paid by the Trustee’s firm. Expenses are summarized on Exhibit

 “A” and itemized on Exhibit “C” attached hereto and incorporated herein. Applicant seeks

 allowance of said expenses as reasonable and necessarily incurred.

                                                  13.

        No agreement or understanding exists between HFC and any other person for the sharing

 of compensation to be received for services rendered in connection with this case. All services for
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 which compensation is requested were performed for the Trustee and the estate and not on behalf

 of any committee, creditor or any other person or persons.

                                                  14.

         Based on the foregoing, Applicant seeks interim allowance of $52,639.00 as compensation

 for the period covered by this Application. Applicant shows that compensation in such amount is

 reasonable compensation based on the nature, the extent, and the value of services rendered, the

 time spent to provide such services, and the cost of comparable services other than in a bankruptcy

 case.

                                                  15.

         Attached hereto as Exhibit “D” is a Declaration of S. Gregory Hays, Managing Principal

 of Applicant, confirming the facts set out in the Application and exhibits hereto.

         WHEREFORE, Applicant respectfully prays:

         a.     That Applicant be allowed interim compensation in the amount of $52,639.00.00

                as and for the reasonable value of services rendered in connection with its retention

                as accountants for the Trustee for the Application Period;

         b.     That Applicant be allowed the sum of $5,829.66 for the reimbursement of out-of-

                pocket expenses incurred in this case during the Application Period;

         c.     that the Court authorize payment of amounts allowed as deemed appropriate and

                equitable by the Court from the fund available in the bankruptcy estate; and

         d.     that the Court grant such other and further relief as may be just and proper.

                Respectfully submitted, this 13th day of November, 2019.

                                               /s/ S. Gregory Hays
 2964 Peachtree Rd, NW Ste. 555                S. Gregory Hays
 Atlanta, Georgia 30305
 (404) 926-0060
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                                       2964 Peachtree Road
                                             Suite 555
                                      Atlanta, GA 30305-2153

 Todd Anthony Shaw
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                            For the Period from 11/16/2009 to 9/30/2019

  October 3, 2019




            Professional Services

                                                                          Hours     Amount

            Accounting                                                     17.60  5,249.00
            Fee / Employment Applications & Objection                       3.50  1,050.00
            Tax Issues                                                    163.40 46,340.00
              For professional services rendered                          184.50 $52,639.00

            Additional Charges :

            Copying Cost                                                              286.65
            Estate Taxes Paid                                                       4,821.34
            Expense Reports                                                            26.00
            Fax                                                                         1.25
            Federal Express                                                            53.27
            Lexis                                                                      76.02
            Postage                                                                   142.01
            Tax Return Filing Fees                                                    423.12
              Total costs                                                          $5,829.66


              Total amount of this bill                                           $58,468.66
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                                                    Suite 555
                                             Atlanta, GA 30305-2153

 Todd Anthony Shaw
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                                    For the Period from 11/16/2009 to 9/30/2019

  October 3, 2019




            Professional Services

                                                                                     Hrs/Rate         Amount

            Dick Atcheson                                                                1.90           475.00
                                                                                    250.00/hr
            James R. Jennings, CPA                                                    140.30        39,682.50
                                                                                    282.84/hr
            Kathryn A. Malek, PHR                                                        0.20            34.00
                                                                                    170.00/hr
            Robert E. Meehan, CPA                                                        1.30           325.00
                                                                                    250.00/hr
            Scott S. Askue                                                             40.80         12,122.50
                                                                                    297.12/hr
               For professional services rendered                                      184.50      $52,639.00

            Additional Charges :

            Copying Cost                                                                                286.65
            Estate Taxes Paid                                                                         4,821.34
            Expense Reports                                                                              26.00
            Fax                                                                                           1.25
            Federal Express                                                                              53.27
            Lexis                                                                                        76.02
            Postage                                                                                     142.01
            Tax Return Filing Fees                                                                      423.12
               Total costs                                                                           $5,829.66


               Total amount of this bill                                                           $58,468.66




          CFE - Certified Fraud Examiner                              CPA - Certified Public Accountant
          CIRA - Certified Insolvency and Restructuring Advisor       PHR - Professional in Human Resources
          CTP - Certified Turnaround Professional
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                          Exhibit “B” Follows
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                                                Suite 555
                                         Atlanta, GA 30305-2153

 Todd Anthony Shaw
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                              For the Period from 11/16/2009 to 9/30/2019
  October 3, 2019




             Professional Services

                                                                                 Hrs/Rate       Amount

               Accounting

   12/9/2009 KAM Prepared amended W-9 in preparation for incoming wire               0.20          34.00
                 transfer.                                                         170.00/hr
  12/14/2009 SSA Drafted email to Kathy Malek regarding posting of receipt           0.20          55.00
                 form ZEI and allocation of same.                                  275.00/hr
   1/28/2010 SSA Reviewed and verified transactions during December                  0.20          60.00
                 2009.                                                             300.00/hr
   4/27/2010 SSA Reviewed receipt of funds from Universal Music. Drafted             0.70         210.00
                 email to Wayne Terry regarding allocation of same.                300.00/hr
   10/1/2012 SSA Updated report of royalty payments to date.                         0.20          60.00
                                                                                   300.00/hr
   10/3/2012 SSA    Reviewed royalty statement for first half of 2012.               0.20          60.00
                                                                                   300.00/hr
    9/9/2013 SSA    Reviewed file and drafted email to Wayne Terry                   0.50         150.00
                    regarding outstanding balance owed to Zomba on note.           300.00/hr
   10/4/2013 SSA    Reviewed and scheduled most recent royalty payment.              0.30          90.00
                                                                                   300.00/hr
   11/1/2013 SSA    Reviewed settlement, transaction history and other               1.00         300.00
                    information relating to the music and royalties from           300.00/hr
                    same. Drafted email to Todd Applebaum regarding
                    same.
   4/23/2014 SSA    Reviewed file and drafted email to attorney for Zomba            0.40         120.00
                    regarding status of royalty payments and Zomba's equity        300.00/hr
                    in same.
   6/20/2014 SSA    Drafted follow up email to Universal Music regarding             0.20          60.00
                    payments to secured lender.                                    300.00/hr
  10/29/2014 SSA    Reviewed status of funds received to date. Drafted email         0.70         210.00
                    to Robert Allen and Anthony Saragueta regarding status         300.00/hr
                    of Zomba loan.
  11/18/2014 SSA    Researched for contact information at Sony regarding             0.60         180.00
                    balance owed on note to Zomba. Drafted email to Ellen          300.00/hr
                    Hochberg regarding same. Prepared updated analysis of
                    estimated balance owed based on receipts into the
                    bankruptcy estate.
    6/8/2016 SSA    Reviewed filed and drafted email to Mike Bargar                  0.60         180.00
                    regarding balance owed on secured note. Telephone call         300.00/hr
                    from Mr. Bargar regarding same.
   7/19/2016 SSA    Reviewed status of case and drafted email to Mike                0.40         120.00
                    Bargar regarding contact with Zomba regarding loan             300.00/hr
                    balance.
   7/25/2016 SSA    Reviewed email from Zomba regarding funds withheld for           1.00         300.00
                    distribution to Dangerous Music. Drafted detailed email to     300.00/hr
                    Mike Bargar regarding resolution of Zomba's secured
                    claim.
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                                                                                Hrs/Rate       Amount

   8/16/2016 SSA   Telephone call from Mike Bargar regarding discussions            0.20          60.00
                   with Sony and Universal Music regarding royalty                300.00/hr
                   payments.
    9/8/2016 SSA   Reviewed email from Universal Music regarding the                0.30          90.00
                   status of their loan payoff. Drafted email to Mike Bargar      300.00/hr
                   regarding additional information needed.
    4/3/2017 SSA   Processed semi-annual royalty payments and calculated            0.40         120.00
                   secured lender claim.                                          300.00/hr
    5/4/2017 SSA   Recorded receipt of royalty check. Updated loan payoff           0.40         120.00
                   calculation.                                                   300.00/hr
    6/7/2017 SSA   Telephone call from Mike Bargar regarding his                    0.20          60.00
                   discussion with counsel for secured lender and royalties       300.00/hr
                   owed on loan.
   8/28/2017 SSA   Reviewed file and drafted email to Mike Bargar regarding         0.20          60.00
                   loan balance.                                                  300.00/hr
   4/18/2018 SSA   Drafted letters to Universal Music Publishing and                1.30         390.00
                   Universal Music Group regarding change of contact              300.00/hr
                   information. Updated report of royalty receipts to date to
                   calculated estimated secured loan balance.
   7/31/2018 SSA   Reviewed documents requested on Rule 2004                        0.30          90.00
                   examination request. Drafted email to Michael Bargar           300.00/hr
                   regarding additional information needed for determination
                   on note balance.
   8/21/2018 SSA   Reviewed response from Universal Music to 2004 exam              0.40         120.00
                   and funds paid towards loan to date.                           300.00/hr
    9/4/2018 SSA   Reviewed file. Reviewed and responded to email from              0.40         120.00
                   Mike Bargar regarding accounting for loan and                  300.00/hr
                   information for same.
   11/9/2018 SSA   Reviewed and responded to email from Mike Bargar                 0.20          60.00
                   regarding accounting production from Sony.                     300.00/hr
  11/12/2018 SSA   Reviewed documents produced by Sony regarding to the             1.50         450.00
                   loan payoff. Researched basis for spike in music               300.00/hr
                   royalties. Drafted email regarding findings.
  12/19/2018 SSA   Reviewed account receipts. Drafted email to Mike Bargar          0.30          90.00
                   regarding same.                                                300.00/hr
   4/18/2019 SSA   Reviewed documents from Sony Music. Calculated                   1.00         300.00
                   estimated overpayment on final payment to Sony.                300.00/hr
   5/20/2019 SSA   Discussed royalty income and other issues with Jim               0.20          60.00
                   Jennings relating to tax estimation payments.                  300.00/hr
    8/9/2019 SSA   Reviewed claims and prepared analysis for an interim             1.20         360.00
                   distribution.                                                  300.00/hr
   9/27/2019 SSA   Prepared updated distribution analysis. Calculated               0.90         270.00
                   expected updated claims and impact on distribution.            300.00/hr
                   Prepare analysis of funds received and disbursed to date.
   9/30/2019 SSA   Updated analysis for interim distribution and royalties          0.80         240.00
                   payments received. Updated report of royalties received.       300.00/hr

                   Subtotal                                                        17.60       5,249.00

              Fee / Employment Applications & Objection

   8/12/2019 SSA   Prepared exhibits for fee application.                           2.20         660.00
                                                                                  300.00/hr
   8/13/2019 SSA   Completed drafting fee application and preparation of            1.30         390.00
                   exhibits to same.                                              300.00/hr

                   Subtotal                                                         3.50       1,050.00
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                                                                                  Hrs/Rate       Amount

               Tax Issues

  11/16/2009 REM Reviewed tax issues regarding copyright royalties, liens,            1.30         325.00
                 and abandonment's.                                                 250.00/hr
  11/18/2009 DA  Researched tax impact of proposed settlement.                        0.60         150.00
                                                                                    250.00/hr
             SSA    Reviewed tax impact of settlement with Zomba. Drafted             2.00         550.00
                    email to Bob Meehan regarding same. Discussed same              275.00/hr
                    with Frank White. Drafted email to Wayne Terry
                    regarding treatment of 1099s by ZEI.
  11/19/2009 SSA    Telephone call from Frank White regarding hearing and             0.30          82.50
                    tax issues with distribution.                                   275.00/hr
  11/20/2009 DA     Discussions with Scott Askue and the Trustee as to the            0.40         100.00
                    tax issues involved with the proposed settlement to the         250.00/hr
                    Estate .
             SSA    Reviewed stipulation relating to Zomba motion for relief          1.00         275.00
                    from stay. Telephone call from Frank White regarding            275.00/hr
                    same. Tax research on same. Discussed tax issues with
                    the Trustee.
  11/23/2009 SSA    Reviewed email from Wayne Terry regarding issuing of              0.50         137.50
                    1099's. Telephone call from Frank White regarding               275.00/hr
                    same. Reviewed email from Mr. White regarding same.
   12/2/2009 SSA    Prepared and drafted email to Frank White regarding               0.30          82.50
                    W-9 for payment from ZEI.                                       275.00/hr
             SSA    Drafted letter to Terry Wayne representing ZEI regarding          0.40         110.00
                    payment of funds to the Trustee.                                275.00/hr
    1/6/2010 SSA    Reviewed proof of claim filed by the IRS.                         0.30          90.00
                                                                                    300.00/hr
   1/14/2010 DA     Drafted a letter to the IRS to respond to their request for       0.20          50.00
                    tax returns for tax years 2003 forward.                         250.00/hr
   8/27/2010 DA     Additional research on the tax impact of royalty                  0.70         175.00
                    settlement and assignment.                                      250.00/hr
   9/14/2010 SSA    Reviewed tax treatment of the abandoned music                     0.50         150.00
                    royalties.                                                      300.00/hr
   4/11/2011 SSA    Reviewed recoveries and tax issues for preparation of             0.30          90.00
                    tax return.                                                     300.00/hr
   4/13/2011 JRJ    Prepared tax projection and extension for Federal and             1.60         440.00
                    GA returns.                                                     275.00/hr
   4/14/2011 JRJ    Prepared 2010 Federal and State extensions (including             0.80         220.00
                    payments)                                                       275.00/hr
   7/22/2011 JRJ    Discussed cash activity with Scott Askue (royalty                 1.00         275.00
                    income). Researched for 2009 files. Drafted email to            275.00/hr
                    Monica Renaud regarding 2009 return.
             SSA    Prepared report of receipts and disbursements for                 0.30          90.00
                    preparation of year 2010 tax return.                            300.00/hr
   7/25/2011 JRJ    Researched prior year files. Confirmed filing or non-filing       1.00         275.00
                    of 2009 Estate income tax returns.                              275.00/hr
             JRJ    Prepared draft of 2010 Form 1041 and Georgia Form                 3.40         935.00
                    501, income tax return of the estate. Reviewed all              275.00/hr
                    receipts and disbursements (2.4). Prepared form 1040
                    and Form 500 attachments (1.0)
   7/26/2011 JRJ    Finalized accounting for 2010 prior to preparing returns.         1.00         275.00
                                                                                    275.00/hr
   7/28/2011 JRJ    Prepared and finalized Federal and Georgia income tax             3.10         852.50
                    returns for year ended 12/31/2010 (3.0). Drafted e-mail to      275.00/hr
                    Monica Renaud and Scott Askue regarding 2009 issues
                    (0.1).
    8/3/2011 JRJ    Met with Monica Renaud regarding files on Todd Shaw               1.00         275.00
                    and background of royalty income and non filing in 2009.        275.00/hr
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    8/4/2011 JRJ   Discussed issue of 2009 royalty income with Scott Askue.           0.20          55.00
                                                                                    275.00/hr
            JRJ    Finalized accounting for 2010 pursuant to finalizing               1.60         440.00
                   income tax returns.                                              275.00/hr
    9/9/2011 SSA   Reviewed and approved Federal and state tax return.                0.40         120.00
                                                                                    300.00/hr
   9/12/2011 JRJ   Discussed 2010 Federal and State income tax returns                1.80         495.00
                   with Scott Askue. Discussed balance due in Georgia.              275.00/hr
                   Discussed estimated payments to be prepared. Prepared
                   estimated coupons and prepared check requests for
                   2011 estimated payments. Finalized return and
                   processed for signature.
   9/13/2011 JRJ   Prepared 2009 Income tax returns of the Bankruptcy                 3.00         825.00
                   Estate including Form 1040 attachment-set up (1.0),              275.00/hr
                   Form 1041 and Form 501 (1.0). Prepared memo to file of
                   unreported royalty income, abandonment of portion of
                   asset and earned but unpaid royalties (1.0).
  12/13/2011 SSA   Met with Jim Jennings regarding taxable income for year            0.80         240.00
                   2009. Prepared analysis of income by year per                    300.00/hr
                   settlement.
            JRJ    Met and discussed prior year royalty income earned with            0.40         110.00
                   Scott Askue. Discussed schedule to be prepared, by               275.00/hr
                   year, in order to determine extent of unreported royalty
                   income for year ended 12/31/2009. Discussed
                   methodology of bifurcating settlement proceeds received
                   in 2009 between royalties earned in 2009 and royalties
                   earned in years prior to 2009.
  12/14/2011 JRJ   Prepared Power of Attorney and letter requesting Master            1.30         357.50
                   File Transcript for Todd A. Shaw, Individually (pursuant         275.00/hr
                   to resolving royalty income reporting). Submitted to
                   Trustee for signature on Power of Attorney.
    1/3/2012 JRJ   Researched Federal and Georgia estimated tax                       1.10         302.50
                   payments made for 2011. Researched 2010 extension                275.00/hr
                   payments made for Estate of Todd A. Shaw. Discussed
                   Order signed by judge approving extension payments to
                   IRS and Georgia Department of Revenue (payments
                   made by Hays Financial Consulting earlier in year).
                   Discussed voiding checks. Discussed at length with Scott
                   Askue and Kathy Malek. Discussed regarding sending of
                   reissued check to Georgia Department of Revenue for
                   2010 balance due.
   1/12/2012 JRJ   Reviewed and responded to IRS Notice regarding Power               1.20         330.00
                   of Attorney authorization for request of information on          275.00/hr
                   1099s issued by royalty payors (pursuant to determining
                   level of taxable income for year ended 12/312009).
                   Wrote letter to IRS clarifying request and provided official
                   documentation of appointment of Chapter 7 Trustee to
                   the bankruptcy case.
   2/22/2012 JRJ   Researched 2010/2011 checks prepared to IRS and GA.                1.10         302.50
                   Dept. of Revenue. Discussed with Scott Askue and                 275.00/hr
                   reviewed Orders issued in error. Discussed correction of
                   problem with taxes paid versus tax checks to be voided.
            SSA    Reviewed status of tax payments and met with Jim                   0.40         120.00
                   Jennings regarding same.                                         300.00/hr
    3/6/2012 JRJ   Prepared Forms 4506-T (2 separate forms) request for               1.20         330.00
                   tax transcripts, prior year income tax returns, prior year       275.00/hr
                   1099s, in response to IRS correspondence received.
                   Requested transcripts, returns, and 1099s for
                   2001-2008. Prepared package, including POA, for
                   Certified Mailing.
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  3/23/2012 JRJ   Prepared Federal and Georgia extensions for year ended          1.30         357.50
                  12/31/2011. Researched income tax estimates and               275.00/hr
                  income for year.
  4/23/2012 JRJ   Prepared 2011 estate income tax return: reviewed prior          0.70         192.50
                  year file. Reviewed estimated income tax payments             275.00/hr
                  made in 2011 for Federal and Georgia. Discussed same
                  with Scott Askue
           JRJ    Reviewed BMS data and prepared taxable income                   1.10         302.50
                  summary for single filer 1040.                                275.00/hr
           JRJ    Prepared 2011 single filer Federal form 1040 and                1.10         302.50
                  Georgia form 500 (pro forma return attachments to Form        275.00/hr
                  1041 and form 501).
           JRJ    Prepared 2011 Federal form 1041 Estate income tax               1.60         440.00
                  return. Prepared Georgia Form 501 Estate income tax           275.00/hr
                  return. Assembled 1041/1040 and 501/500 package for
                  review by Scott Askue.
           JRJ    Prepared Federal form 8948 to accompany 2011 Federal            0.20          55.00
                  form 1041.                                                    275.00/hr
           JRJ    Prepared 2012 Federal and Georgia estimated tax                 0.40         110.00
                  coupons for Bankruptcy Estate of Todd Shaw.                   275.00/hr
  4/26/2012 JRJ   Received large package of Master File Transcript data           1.60         440.00
                  for 2001-2008. Reviewed all 1040, 1099, and W-2               275.00/hr
                  transcripts. Attempted to identify those payors of
                  Royalties (pursuant to determining level of taxable
                  income generated in 2009, the first post petition year of
                  case). Discussed at length with Scott Askue. Agreed to
                  prepare a schedule/analysis of 1099s received to
                  compare to monies held in escrow lien account by
                  Universal/Zomba.
  4/27/2012 JRJ   Prepared schedule and analysis of royalty payments from         1.90         522.50
                  2001-2008, pursuant to determining extent that Universal      275.00/hr
                  Publishing (aka Zomba) issued 1099s in pre petition
                  years after receiving requested historical reporting
                  information from IRS. Identified payors of royalties
                  previously unknown. Agreed to request subsequent years
                  beginning with 2009 and search for additional payors
                  whose payment streams may be the property of the
                  Estate.
           JRJ    Prepared 3rd request for taxpayer data, form 4506-T, for        1.20         330.00
                  years 2009-2011 for Todd A. Shaw(w-2;1099). Submitted         275.00/hr
                  to Trustee for signature.
  4/30/2012 JRJ   Finalized 4506-T request for 2009,2010,2011 IRS data.           0.40         110.00
                  Sent Certified Mail.                                          275.00/hr
   6/6/2012 JRJ   Read and responded to IRS rejection of request for              1.00         275.00
                  additional transcript data. Submitted response letter to      275.00/hr
                  Trustee for signature, pursuant to faxing package to IRS.
   6/8/2012 JRJ   Processed response to IRS Request for Transcript.               0.10          27.50
                  Faxed to IRS.                                                 275.00/hr
  10/1/2012 JRJ   Researched information provided by IRS regarding prior          1.80         495.00
                  years' earned income and 1099 reporting, pursuant to          275.00/hr
                  preparing 2009 Estate tax returns. Prepared
                  memorandum on research, findings, and conclusions.
  10/3/2012 JRJ   Telephone call to IRS RAIVS Division to discuss status of       0.40         110.00
                  additional information requested on Todd Shaw (years          275.00/hr
                  2000-2008).
           JRJ    Prepared revised 2009 Form 1041 and Georgia Form                1.90         522.50
                  501 for Bankruptcy Estate of Todd Shaw.                       275.00/hr
  10/4/2012 JRJ   Revised 2009 pro forma Federal 1040 and Georgia 500             1.60         440.00
                  in accordance with settlement agreement with Zomba.           275.00/hr
                  Discussed same with Scott Askue.
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   10/4/2012 SSA   Met with Jim Jennings regarding background of royalties         0.20          60.00
                   earned and other issues for tax returns.                      300.00/hr
            JRJ    Organized 2009 files including 1099 research.                   1.00         275.00
                                                                                 275.00/hr
            JRJ    Finalized and processed 2009 Forms Federal 1041/1040,           2.10         577.50
                   and Georgia 501/500. Discussed and submitted to Scott         275.00/hr
                   Askue for review/comment.
   10/8/2012 JRJ   Prepared amended 2010 Federal return to correct                 1.20         330.00
                   extension payment (to file corrected return for 505b          275.00/hr
                   request).
            JRJ    Prepared Rule 505(b) letter for Bankruptcy Estate for           1.00         275.00
                   year ended 12/31/2010 (form 1041).                            275.00/hr
            JRJ    Prepared Rule 505(b) Request for Prompt Determination           1.00         275.00
                   for 12/31/2010 Georgia Fiduciary return of Bankruptcy         275.00/hr
                   Estate.
   10/9/2012 JRJ   Finalized 2009 Form 1041 and GA. Form 500 after Scott           1.20         330.00
                   Askue review and comments. Prepared Federal and               275.00/hr
                   Georgia check requests.
  10/11/2012 JRJ   Finalized 2009 Federal and Georgia return. Met with             0.40         110.00
                   Trustee for signature.                                        275.00/hr
            JRJ    Finalized 2010 amended Federal return for overpayment           0.30          82.50
                   issue. Met with Trustee regarding same and 505(b)             275.00/hr
                   returns to file.
  10/15/2012 JRJ   Finalized, processed and mailed 2010 Form 1041                  1.00         275.00
                   amended return.                                               275.00/hr
  10/18/2012 JRJ   Finalized, processed and mailed 2009 Form 1041/1040             0.40         110.00
                   and Georgia form 501/500.                                     275.00/hr
  11/13/2012 JRJ   Reviewed and responded to IRS Notice regarding                  0.40         110.00
                   assignment of Federal ID number. Requested                    275.00/hr
                   deactivation of incorrect ID number. Sent copy of 2009
                   return along with letter.
            JRJ    Researched 2010 tax file in order to respond to Georgia         0.40         110.00
                   assessment Notice received for year ended 12/31/2010          275.00/hr
                   (missing payments).
  11/14/2012 JRJ   Researched income tax payment that was approved by              1.20         330.00
                   Court order 114 which is reported as unpaid on Georgia        275.00/hr
                   DOR Notice for year ended 12/31/2010, which assesses
                   income tax, penalties, and interest. Reviewed checks
                   that were voided in 2011 and check that was "stopped
                   payment" in 2012. Researched files in order to ascertain
                   problem.
            JRJ    Prepared two (2) check requests for tax due for year            0.80         220.00
                   ended 12/31/2010 to Georgia Dept of Revenue (check            275.00/hr
                   was approved under Court Order but did not clear bank)
                   and interest and penalties. Submitted to Trustee for
                   approval of tax payment.
  12/19/2012 JRJ   Reviewed IRS Notice for tax interest and penalties. year        1.00         275.00
                   ended 12/31/2010. Prepared two check requests.                275.00/hr
  12/21/2012 JRJ   Reviewed check requests for taxes to be paid for years          0.30          82.50
                   ended 12/31/2009 and 12/31/2011.                              275.00/hr
   1/10/2013 SSA   Reviewed outstanding administrative tax bill. Drafted           0.30          90.00
                   email to the Trustee regarding payment of same.               300.00/hr
   1/22/2013 SSA   Reviewed tax bill. Drafted email to Kathy Malek regarding       0.20          60.00
                   preparation of motion to pay administrative expense.          300.00/hr
            JRJ    Prepared check request for IRS notice.                          0.20          55.00
                                                                                 275.00/hr
   2/19/2013 JRJ   Read IRS Notice regarding assignment of Federal ID              0.10          27.50
                   number to bankruptcy estate. Noted and filed for future       275.00/hr
                   correction.
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   3/28/2013 JRJ   Lengthy phone conversation with IRS Revenue Officer              1.20         330.00
                   Burton regarding whereabouts of Todd Shaw. Discussed           275.00/hr
                   my role in case and status of my Power of Attorney
                   executed by Trustee regarding search for individual
                   income tax transcripts on Todd Shaw for 2001-2008.
                   Agreed to Revoke Power of Attorney. Researched
                   Power of Attorney on file. Prepared Revocation Notice
                   and faxed to IRS Revenue Officer Burton at his request.
    4/2/2013 JRJ   Reviewed transaction activity in order to determine              0.40         110.00
                   whether extension payments need to be made for y/e             275.00/hr
                   12/31/12.
    4/4/2013 JRJ   Reviewed transaction reports for 2012. Prepared taxable          1.00         275.00
                   income and estimated GA tax for 2012. Drafted email to         275.00/hr
                   Scot Askue regarding same (GA extension payment).
    4/5/2013 JRJ   Reviewed 2012 activity, calculated Georgia taxes due,            1.10         302.50
                   and prepared Federal and Georgia extensions. Prepared          275.00/hr
                   check request for Georgia extension.
   4/12/2013 JRJ   Processed Federal extension for year ended 12/31/2012.           0.90         247.50
                                                                                  275.00/hr
    6/6/2013 JRJ   Filed Revocation of Power of Attorney at request of              1.00         275.00
                   Revenue Officer.                                               275.00/hr
   7/18/2013 JRJ   Read IRS Notice which shows credits on account.                  1.10         302.50
                   Finalized 2011 return and prepared check request.              275.00/hr
   7/30/2013 JRJ   Reviewed transaction activity for 2012. Prepared taxable         1.80         495.00
                   income summary, receipts and disbursements schedule,           275.00/hr
                   proof of cash/bank reconciliation.
            JRJ    Prepared draft of 2012 Federal and State (GA) pro forma          1.70         467.50
                   Form 1040 (for stacking with Form 1041).                       275.00/hr
   7/31/2013 JRJ   Prepared draft of form 2012 form 1041 for stacking with          1.40         385.00
                   1040 return.                                                   275.00/hr
    8/2/2013 JRJ   Reviewed corrected and finalized/processed final 2012            2.90         797.50
                   Federal Form 1041/1040 and Georgia Form 501/500.               275.00/hr
                   Submitted to Trustee for review/comment/signature.
   8/12/2013 JRJ   Finalized and processed 2012 Federal and state tax               0.60         165.00
                   returns for Bankruptcy Estate.                                 275.00/hr
   8/28/2013 JRJ   Finalized and processed 2011 federal return. Discussed           0.80         220.00
                   Georgia return with Scott Askue.                               275.00/hr
            JRJ    Finalized 2011 Georgia estate income tax return.                 0.80         220.00
                   Prepared check request.                                        275.00/hr
            SSA    Discussed tax issues with Jim Jennings.                          0.20          60.00
                                                                                  300.00/hr
   9/25/2013 JRJ   Prepared Rule 505(b) Request for Prompt Determination            1.00         275.00
                   for year ended 12/31/2012 Federal return and Georgia           275.00/hr
                   returns.
  10/16/2013 JRJ   Reviewed notice sent by IRS for 2009 federal income              1.00         275.00
                   taxes due. Researched returns filed/taxes paid. Prepared       275.00/hr
                   letter to IRS requesting support for assessment.
  10/28/2013 JRJ   Reviewed 2013 cash receipts from schedule provided by            0.20          55.00
                   Scott Askue.                                                   275.00/hr
  10/30/2013 JRJ   Discussed taxability of 2013 recoveries with Scott Askue.        0.40         110.00
                   Discussed timing of sale of royalty interest, remaining        275.00/hr
                   amounts owed to secured lender, and timing of filing fee
                   applications.
            SSA    Met with Jim Jennings regarding taxability of transactions       0.30          90.00
                   and projected taxes owed.                                      300.00/hr
  11/18/2013 JRJ   Read Notice from IRS to Bankruptcy Estate of Todd                0.80         220.00
                   Shaw for year ended 12/31/2011. Researched 2011 file           275.00/hr
                   and prepared Reasonable Cause letter to IRS
                   requesting removal of penalties.
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  11/20/2013 JRJ   Researched and resubmitted check requests for income             0.40         110.00
                   taxes for year ended 12/31/2009 for the Bankruptcy             275.00/hr
                   Estate of Todd Shaw (court approval).
  12/10/2013 JRJ   Prepared second check request for 2011 taxes after               0.20          55.00
                   receiving court approval.                                      275.00/hr
    1/9/2014 JRJ   Read Order for approval of 2011 GA Taxes. Discussed              0.10          27.50
                   with Kathy Malek (regarding source documentation and           275.00/hr
                   processing for payment).
   1/13/2014 JRJ   Processed 2011 GA filing of tax return after reviewing           0.20          55.00
                   approved check amount.                                         275.00/hr
   1/20/2014 JRJ   Read and responded to IRS Notice of Intent to Levy for           0.50         137.50
                   outstanding assessments relating to year ended                 275.00/hr
                   12/31/2011.
   2/19/2014 JRJ   Had two phone conversations with Ms. Christiani of               1.00         275.00
                   Georgia Dept of Revenue Bankruptcy Section regarding           275.00/hr
                   request for Prompt Assessment for year ended 12/31/12
                   and missing year's tax returns. Researched 2011, tax
                   payments, approved court order, and faxed 35 pages of
                   documents to Ms. Christiani. Discussed problem with
                   incorrect Federal ID number assigned. Discussed
                   locating all years except for 2011.
   2/22/2014 JRJ   Additional research performed on Federal ID number               0.60         165.00
                   discrepancy. Faxed recent notice from IRS to Ms.               275.00/hr
                   Christiani at Georgia Dept of Revenue, per her request
                   (2011 issue with return filed and missing payment
                   application).
    3/6/2014 JRJ   Prepared 2013 Estate income tax return (Estate return            2.10         577.50
                   and individual pro forma return) and Georgia estate            275.00/hr
                   income tax return.
            SSA    Prepared 2013 transaction reports for preparation of             0.30          90.00
                   2013 tax return.                                               300.00/hr
   3/11/2014 JRJ   Prepared IRS Appeal letter to Ms. De Calonne, Appeals            1.20         330.00
                   Officer in Covington KY, and supporting documents for          275.00/hr
                   requesting removal of 2011 tax penalty assessments.
            JRJ    Prepared new IRS Power of Attorney to accompany                  0.80         220.00
                   submittal of Appeal Letter to Ms. Decallone of IRS             275.00/hr
                   Appeals Division.
   3/12/2014 JRJ   Finalized IRS Appeal letter and package for year ended           1.20         330.00
                   12/31/2011 after Scott Askue review/comment.                   275.00/hr
   3/15/2014 JRJ   Revised and corrected IRS Appeal letter for year ended           1.00         275.00
                   12/31/2011 after review by Trustee. Discussed same             275.00/hr
                   briefly with Trustee.
   3/24/2014 SSA   Reviewed file and 2013 transactions for clarity on royalty       0.20          60.00
                   issues.                                                        300.00/hr
    4/1/2014 JRJ   Reviewed IRS Master File Transcript for Bankruptcy               0.40         110.00
                   Estate of Todd Shaw for year ended 12/31/2009                  275.00/hr
                   (reconciled to Notice).
   4/14/2014 JRJ   Read IRS Notice regarding Appeals status (year ended             0.10          27.50
                   12/31/2011).                                                   275.00/hr
   4/29/2014 JRJ   Prepared Federal and Georgia 505b request packages.              1.20         330.00
                                                                                  275.00/hr
    5/5/2014 JRJ   Reviewed GA Notice for ye 12/31/13. Prepared Check               0.50         137.50
                   request for payment due.                                       275.00/hr
    8/8/2014 JRJ   Reviewed IRS Appeal response letter to 2011 penalties.           0.20          55.00
                   Contacted Christine Williams, Appeals Tax Specialist in        275.00/hr
                   Ogden UT and left lengthy voicemail regarding
                   clarification of her version of facts as communicated in
                   her letter.
   8/18/2014 JRJ   Reviewed IRS Appeal letter response and prepared                 0.80         220.00
                   comments and recommendation regarding same.                    275.00/hr
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   8/29/2014 JRJ   Reviewed notice from GA DOR for year ended 12/31/13             0.20          55.00
                   and followed up.                                              275.00/hr
   9/26/2014 JRJ   Read and responded to IRS Notice of Intent to Levy for          0.40         110.00
                   year ended 12/31/2011.                                        275.00/hr
   10/6/2014 SSA   Reviewed notice from Universal Music. Prepared w-9 for          0.40         120.00
                   future payments and drafted email to same.                    300.00/hr
  11/12/2014 SSA   Reviewed account ledgers year 2014 transactions and             0.20          60.00
                   tax filing requirements and planning.                         300.00/hr
   3/31/2015 JRJ   Reviewed 2014 transaction data. Prepared 2014 Federal           1.00         275.00
                   and Georgia taxable income summaries.                         275.00/hr
            SSA    Prepared report of 2014 activity for preparation of 2014        0.20          60.00
                   tax returns.                                                  300.00/hr
            JRJ    Prepared initial drafts of 2014 Federal and Georgia             1.90         522.50
                   Estate income tax returns, Form 1041 and 501, as well         275.00/hr
                   as pro forma 1040 and GA form 500.
            JRJ    Finalized and processed 2014 returns of the bankruptcy          1.00         275.00
                   estate.                                                       275.00/hr
    4/1/2015 SSA   Reviewed 2014 transactions and verified 2014 tax                0.40         120.00
                   returns.                                                      300.00/hr
   4/21/2015 JRJ   Prepared 505(b) requests for Federal and Georgia 2014           1.00         275.00
                   Estate income tax returns of the Bankruptcy Estate of         275.00/hr
                   Todd A. Shaw.
  11/18/2015 JRJ   Reviewed 2015 transaction activity to date (thru                0.10          27.50
                   11/18/2015) cash receipts and disbursements.                  275.00/hr
    4/1/2016 SSA   Prepared activity report for year 2015 for tax return.          0.40         120.00
                                                                                 300.00/hr
    4/7/2016 JRJ   Prepared Federal 2015 extension for bankruptcy estate           1.30         390.00
                   of Todd Shaw after initial review of Form 2 data.             300.00/hr
   11/4/2016 JRJ   Reviewed income and expenses for 2016 ytd. Prepared             0.80         240.00
                   estimated tax calculation for Federal and Georgia.            300.00/hr
   11/9/2016 SSA   Reviewed file and docket. Drafted summary of case and           0.40         120.00
                   tax impact of transactions.                                   300.00/hr
   4/10/2017 JRJ   Reviewed 2016 data, prepared 2016 Federal extension             1.40         420.00
                   for the bankruptcy estate of Todd Shaw. Set up for e-file     300.00/hr
                   and e-filed extension.
   4/12/2017 JRJ   Reprocessed extension for paper filing after IRS rejected       1.00         300.00
                   electronic filing (problem with Bankruptcy estates            300.00/hr
                   currently being researched by IRS). Prepared certified
                   mailing package and sent in USPS mail.
   6/14/2017 JRJ   Reviewed 2016 Form 2 and prior year file. Prepared              1.00         300.00
                   taxable income summary.                                       300.00/hr
            JRJ    Prepared 2016 pro forma Form 1040 and attachments.              1.90         570.00
                   Prepared Georgia pro forma Form 500.                          300.00/hr
            JRJ    Prepared 2016 Federal Form 1041 and attachments.                2.10         630.00
                   Prepared 2016 Georgia Form 501.                               300.00/hr
    7/1/2017 JRJ   Finalized Form 1041/1040 and Georgia 501/500 for year           1.80         540.00
                   ended 12/31/2016, after Scott Askue comments and              300.00/hr
                   processed returns.
            JRJ    Prepared Rule 505(b) Requests for Prompt                        1.00         300.00
                   Determination for Federal and Georgia 2016 Bankruptcy         300.00/hr
                   estate returns.
  12/11/2017 SSA   Prepared 2017 transaction ledger for tax estimate.              0.20          60.00
                                                                                 300.00/hr
  12/13/2017 JRJ   Reviewed Form 2 year to date 2017. Prepared estimated           1.50         450.00
                   Federal and Georgia taxable income, for purpose of filing     300.00/hr
                   motion to allow payment of estimated tax.
                   Communicated findings and recommended Federal and
                   Georgia estimates to be paid.
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   1/8/2018 JRJ   Prepared Federal 2017 pro forma federal Form 1040 for           2.00         600.00
                  attaching to Federal Form 1041 after receiving updated        300.00/hr
                  Form 2 data.
           JRJ    Prepared Federal 2017 Federal Form 1041 Fiduciary Tax           1.00         300.00
                  Return and attachments after receiving updated Form 2         300.00/hr
                  data.
           JRJ    Prepared Georgia 2017 pro forma Form 500 and                    1.00         300.00
                  attachments after receiving updated Form 2 data.              300.00/hr
           JRJ    Prepared Georgia 2017 Form 501 fiduciary tax return             1.00         300.00
                  after receiving updated Form 2 data.                          300.00/hr
           SSA    Prepared account ledger for year 2017 for preparation of        0.30          90.00
                  tax estimated payment and return.                             300.00/hr
  1/11/2018 JRJ   Finalized Federal and Georgia fiduciary income tax              1.60         480.00
                  returns for year ended 12/31/2017 and submitted to            300.00/hr
                  Trustee for review, comment, and execution.
           JRJ    Prepared Federal Rule 505b Requests for Prompt                  1.00         300.00
                  Determination for year ended 12/31/17 fiduciary income        300.00/hr
                  tax returns and processed accompanying copies of
                  Federal returns.
           JRJ    Prepared Georgia Rule 505b Requests for Prompt                  1.00         300.00
                  Determination for year ended 12/31/17 fiduciary income        300.00/hr
                  tax returns and processed accompanying copies of
                  Federal returns.
   2/5/2018 JRJ   Reviewed 1099s issued to Bankruptcy Estate of Todd A            0.50         150.00
                  Shaw and compared to actual receipts. Noted large             300.00/hr
                  discrepancies of approximately $50,000 and discussed
                  with Scott Askue. Agreed to revise tax returns and report
                  difference as nominee distribution to claimant/payer for
                  portion not received by estate.
           JRJ    Revised Federal and Georgia pro forma 1040 and 500              1.00         300.00
                  for year ended 12/31/17, based on revised 1099s               300.00/hr
                  received from payors.
           JRJ    Revised Federal and Georgia 1041 and 501 for year               1.00         300.00
                  ended 12/31/17 based on revised 1099s received from           300.00/hr
                  payors.
   2/6/2018 JRJ   Reviewed corrected 1099s received today and updated             1.00         300.00
                  presentation on tax returns. Finalized revised returns.       300.00/hr
  2/22/2018 SSA   Drafted summary of tax issues for application to pay            0.20          60.00
                  administrative claim.                                         300.00/hr
  4/11/2018 JRJ   Processed and mailed Federal 1041, GA. 501, and 505b            0.60         180.00
                  Requests for Prompt Determination for Federal and             300.00/hr
                  Georgia 2017 returns.
  5/30/2018 SSA   Researched year 2017 1099s issues relating to                   0.30          90.00
                  correspondence from the IRS.                                  300.00/hr
  5/31/2018 JRJ   Had brief telephone conversation with Ashley Thomas of          0.50         150.00
                  IRS regarding 1099 discrepancies on 12/31/17 return.          300.00/hr
                  Prepared Power of Attorney as requested and faxed to
                  IRS.
   6/1/2018 JRJ   Had follow up telephone conversation with Ashley                0.40         120.00
                  Thomas of IRS regarding 1099 discrepancies on                 300.00/hr
                  12/31/17 return. Discussed IRS copies of additional
                  1099s reported personally in the name of Todd A. Shaw.
                  Discussed obtaining copies of these.
   6/4/2018 JRJ   Drafted letter to IRS representative Ashley Thomas              0.70         210.00
                  regarding additional 1099s of Todd A. Shaw (matters           300.00/hr
                  concerning Request for Prompt Assessment under Rule
                  505b).
   6/5/2018 SSA   Reviewed and commented on 1099s and letter to the IRS           0.40         120.00
                  regarding document request relating to royalty payments.      300.00/hr
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   6/11/2018 SSA   Reviewed report of 1099s received by the Debtor                 1.10         330.00
                   between 2009 and current. Noted payments for further          300.00/hr
                   investigation.
   6/20/2018 JRJ   Reviewed all 1099s issued to Todd Shaw personally from          1.40         420.00
                   2009-2017, provided under request from IRS. Analyzed          300.00/hr
                   royalty payors. Compiled list of royalty payors and total
                   royalties paid by year. Analyzed trend and communicated
                   this to Trustee counsel, pursuant to queries to be made
                   with publishing houses in order to determine whether the
                   Debtor is being paid royalties on creations that were in
                   existence prior to the petition date. Communicated
                   findings and preliminary conclusions.
   6/26/2018 JRJ   Analyzed 1099s and analysis sent to trustee counsel             0.40         120.00
                   regarding royalty income.                                     300.00/hr
  10/29/2018 JRJ   Reviewed case transaction activity for 2018 and                 0.10          30.00
                   scheduled comments on same.                                   300.00/hr
  12/13/2018 SSA   Reviewed royalty payments and report of funds received          0.50         150.00
                   by Sony. Drafted email to Michael Bargar regarding            300.00/hr
                   same.
    1/6/2019 JRJ   Reviewed Form 2 activity for the year ended 12/31/18.           1.00         300.00
                   Scheduled out income and expense items for reporting          300.00/hr
                   on 1040 and 1041.
            JRJ    Prepared draft of pro forma Form 1040 and Georgia form          1.40         420.00
                   500.                                                          300.00/hr
            JRJ    Prepared draft of Federal Form 1041 and Georgia Form            1.50         450.00
                   501.                                                          300.00/hr
   2/14/2019 SSA   Prepared W-9 for additional payments from Universal             0.30          90.00
                   Music.                                                        300.00/hr
   2/18/2019 JRJ   Prepared Federal Form 1041 for year ended 12/31/18.             1.00         300.00
                   Finalized and processed Federal return.                       300.00/hr
            JRJ    Prepared Georgia Form 501 for year ended 12/31/18.              1.00         300.00
                   Finalized and processed Georgia return.                       300.00/hr
            JRJ    Prepared Rule 505(b) Request for Prompt Determination           1.00         300.00
                   along with all required attachments for Form 1041 for         300.00/hr
                   year ended 12/31/2018.
            JRJ    Prepared Rule 505(b) Request for Prompt Determination           1.00         300.00
                   along with all required attachments for Georgia Form 501      300.00/hr
                   for year ended 12/31/2018.
   2/21/2019 SSA   Drafted email to Mike Bargar regarding taxes owed for           0.30          90.00
                   2018 royalty receipts.                                        300.00/hr
   3/26/2019 JRJ   Processed and mailed Federal and Georgia 2018 estate            0.80         240.00
                   returns upon receipt of signed checks from the trustee.       300.00/hr
   4/18/2019 SSA   Reviewed field tax claims and tax liens.                        1.10         330.00
                                                                                 300.00/hr
   5/23/2019 SSA   Prepared form 2, estimated setoffs and discussed                0.90         270.00
                   estimated tax payment with Jim Jennings.                      300.00/hr
            JRJ    Researched new tax rates and std deduction and                  1.50         450.00
                   prepared projection for 2019 using actual and estimated       300.00/hr
                   royalty income and accrued unbilled case administration
                   expenses.
   5/29/2019 SSA   Reviewed filed tax claims. Researched nature of same.           2.50         750.00
                   Telephone call to Fulton County Tax Commissioner's            300.00/hr
                   office, the IRS and the GA Department of Revenue
                   regarding amendments to same. Drafted notes on
                   resolution.
    6/3/2019 JRJ   Finalized projection for 2019. Drafted email to trustee         0.90         270.00
                   counsel regarding Motion to pay estimated taxes for 2019      300.00/hr
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 Todd Anthony Shaw                                                                   Page        12

                                                                               Hrs/Rate        Amount

  6/19/2019 JRJ   Revised projection of Federal and state estimated taxes          1.00         300.00
                  after discussing with trustee counsel. Resubmitted totals      300.00/hr
                  for including in Motion to pay 2019 Federal and State
                  estimated income taxes.
  7/16/2019 SSA   Reviewed and verified content of motion to pay                   0.20          60.00
                  administrative tax claims.                                     300.00/hr
  7/26/2019 SSA   Reviewed and commented on notice from the IRS                    0.40         120.00
                  regarding post petition earnings of Mr. Shaw personally.       300.00/hr
  7/30/2019 JRJ   Discussed California tax notices for Todd Shaw                   0.70         210.00
                  assessments with trustee counsel. Discussed proposed           300.00/hr
                  research of sources of royalty income paid to Todd Shaw
                  personally (from IRS records obtained), and reaching out
                  to various royalty payers in order to confirm payments of
                  royalties paid on songs created prior to petition date and
                  post petition. Discussed same with trustee.
   8/9/2019 JRJ   Reviewed Order allowing for the payment of 2019                  0.20          60.00
                  Federal and Georgia estimated taxes for q3 2019                300.00/hr
                  ($46,365 and $11,104, respectively). Researched and
                  confirmed amounts.
  8/21/2019 JRJ   Prepared estimated vouchers for 3rd quarter 2019 for             1.00         300.00
                  Federal Form 1041 and Georgia Form 501. Processed              300.00/hr
                  and mailed.

                  Subtotal                                                       163.40       46,340.00

             For professional services rendered                                  184.50      $52,639.00
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                               Hays Financial Consulting, LLC
                                          2964 Peachtree Road
                                                Suite 555
                                         Atlanta, GA 30305-2153



 Todd Anthony Shaw
 Case # 09-61855-BEM



                                 For the Period from 11/16/2009 to 9/30/2019
  October 3, 2019


                                                                                               Amount

                Expenses

  11/30/2009 Copying cost for November 2009.                                                       4.95
             Postage charges for November 2009.                                                    1.83
   12/2/2009 FedEx to Hemar, Rousso & Heald LLP                                                   10.50
  12/31/2009 Copying cost for December 2009.                                                       1.95
             Fax charges for December 2009.                                                        0.75
             Postage charges for December 2009.                                                    0.88
   1/31/2010 Copying cost for January 2010.                                                        1.50
             Postage charges for January 2010.                                                     0.78
    2/8/2010 Lexis Nexis research fees for period ended 1/31/10                                   11.22
   3/31/2010 Postage charges for March 2010.                                                       1.83
   4/30/2010 Copying cost for April 2010.                                                         41.70
    5/5/2010 FedEx to Bank of America                                                             21.75
   5/31/2010 Copying cost for the month of May.                                                    0.90
             Postage for the month of May.                                                         0.44
    7/7/2010 FedEx to Imperial Credit Corporation 6/17/10                                         21.02
   7/31/2010 Postage for month of July                                                             0.44
             Copying cost for month of July                                                        1.20
   8/23/2010 Expense Report - Colt Conner for mileage, parking and filing fee for recording       26.00
             of Trustee Deed in property records.
             Parking: $3.00
             Mileage: $11.00
             Filing Fees: $12.00
   8/31/2010 Postage for the month of August.                                                      0.88
  10/31/2010 Postage for October 2010.                                                             0.88
  11/30/2010 Faxes for the month of November 2010.                                                 0.50
             Postage for the month of November 2010.                                               0.44
  12/31/2010 Postage for December 2010.                                                            0.44
    1/1/2011 Photocopies for January 2011                                                          0.60
   4/14/2011 Estimated tax payments included with 2010 Extension of time to file - IRS         2,300.00
             $1,600.00 and 2010 Extension of time to file - GA Department of Revenue
             $700.00
   4/30/2011 Copies for April 2011                                                                 2.10
             Postage for April 2011                                                               11.08
    7/1/2011 Copying cost                                                                          8.85
   8/26/2011 Lacerte tax filing fees for period ended 8/16/11                                    100.44
   9/30/2011 Postage                                                                              30.14
  12/31/2011 Postage                                                                               5.59
             Copying cost                                                                          0.45
   1/31/2012 Copying cost                                                                          1.50
   3/31/2012 Postage                                                                               6.40
   4/20/2012 Lexis Nexis research fees for period ended 3/23/2012                                 64.80
   4/30/2012 Postage                                                                               6.40
   7/13/2012 Lacerte tax filing fees 4/23/12                                                      47.52
  10/12/2012 Bankruptcy estate taxes due. 2009 Income Tax: $289.00 and 2009 State of             671.00
             Georgia Income Tax: $382.00
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                                                                                              Amount

  10/31/2012 Postage                                                                              5.10
             Copying cost                                                                        29.55
   4/12/2013 Georgia Dept of Revenue Extension Payment                                           50.00
   4/30/2013 Postage                                                                              0.46
   5/31/2013 Copying cost                                                                        13.50
   8/31/2013 Postage                                                                              2.64
             Postage                                                                              1.52
   9/30/2013 Postage                                                                              1.38
  10/31/2013 Postage                                                                              7.08
  11/30/2013 Copying cost                                                                        59.40
   1/31/2014 Postage                                                                              2.12
   3/11/2014 2014 Net Worth Tax                                                                  26.00
   3/31/2014 Postage                                                                              7.61
    5/9/2014 12/31/13 GA Tax Due                                                                 26.39
   5/31/2014 Postage                                                                              3.64
   7/23/2014 Fast Tax software fees - 2013                                                       25.00
   8/31/2014 2013 corporate tax return to the IRS                                               860.00
             2013 Georgia state tax                                                              27.95
   9/30/2014 Postage                                                                              2.13
  10/31/2014 Copying cost                                                                        45.90
  11/30/2014 Copying cost                                                                        43.20
   1/31/2015 Copying cost                                                                         0.30
   2/28/2015 Copying cost                                                                         0.30
   4/30/2015 Postage                                                                              5.81
   9/30/2015 2014 tax software charges                                                           40.16
   4/30/2016 Postage                                                                              0.49
    7/8/2016 Tax software charge-2015 - Form 1040 filing and processing.                         35.00
             Tax software charge-2015 (Bankruptcy Estate) Form 1041 filing and processing.       35.00
   4/19/2017 Postage - Tax return extension                                                       6.59
   6/30/2017 Georgia tax 2016                                                                   410.00
             Federal income tax 2016                                                            450.00
   7/31/2017 Postage                                                                              6.86
   8/31/2017 1040-2016 software filing and processing fee                                        35.00
             1041-2016 software filing and processing fee                                        35.00
   1/31/2018 Copying cost                                                                        28.80
   4/30/2018 Postage                                                                              8.93
  10/25/2018 Software charges 2017 (Form 1040)                                                   35.00
             Software charges 2017 (form 1041)                                                   35.00
   2/28/2019 Postage                                                                              3.80
   3/31/2019 Postage                                                                              6.40
   8/31/2019 Postage                                                                              1.00

                    Subtotal                                                                  5,829.66

               Total costs                                                                   $5,829.66
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                                  :      CASE NO. 09-61855-BEM
                                                         :
 TODD ANTHONY SHAW,                                      :       CHAPTER 7
                                                         :
          Debtor.                                        :

                                          DECLARATION

 I, S. Gregory Hays, declare under penalty of perjury that:

    1. I am the Managing Principal at Hays Financial Consulting, LLC (“HFC”) and have

          knowledge of the facts set forth herein.

    2. The facts set out in the foregoing First Interim Application for Allowance of Compensation

          and Reimbursement of Expenses of Hays Financial Consulting, LLC as Accountants to the

          Chapter 7 Trustee and in the exhibits attached thereto are true and correct to the best of my

          knowledge, information and belief. Those facts are known to me personally and by

          business records of HFC, maintained in the ordinary course of business, including time and

          reimbursement records made by personnel at HFC.


                                                      /s/ S. Gregory Hays
                                                     S. Gregory Hays
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                                 CERTIFICATE OF SERVICE

        This is to certify that I caused to be served the foregoing First Interim Application for
 Allowance of Compensation and Reimbursement of Expenses of Hays Financial Consulting LLC
 as Accounts to the Chapter 7 Trustee causing a copy of same to be deposited in the United States
 Mail in a properly addressed envelope with adequate postage affixed thereon to assure
 delivery to:


 Office of the U.S. Trustee
 362 Richard B. Russell Federal Building
 75 Ted Turner Drive SW
 Atlanta, GA 30303

 Todd Anthony Shaw
 1010 Forest Overlook Drive
 Atlanta, GA 30331



        This 13th day of November, 2019.

                                                  /s/ S. Gregory Hays
                                                 S. Gregory Hays
